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           IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

CAUSE OF ACTION INSTITUTE,                      )
                                                )
            Plaintiff,                          )
                                                )
      v.                                        )           No. 1:19-cv-778-CJN
                                                )
UNITED STATES                                   )
DEPARTMENT OF COMMERCE                          )
                                                )
            Defendant.                          )
________________________________________________)

      PLAINTIFF’S STATEMENT OF UNDISPUTED MATERIAL FACTS

      Pursuant to Federal Rule of Civil Procedure 56 and Rule 7(h) of the Local Civil

Rules of the United States District Court for the District of Columbia, Plaintiff Cause

of Action Institute (“CoA Institute”) hereby submits a statement of undisputed

materials facts in support of its opposition and cross-motion for summary judgment.

 I.   The Administration’s Recent Actions Under Section 232 of the Trade
      Expansion Act of 1962

      1.     The current Administration has invoked the Section 232 statutory

process five times: Commerce has investigated and created reports on the national-

security impacts of the importation of steel, aluminum, uranium, and automobiles,

see Dep’t of Commerce, Bureau of Industry and Security, Section 232 Investigations:

The Effect of Imports on the National Security, Completed Reports, available at

http://bit.ly/2zotcJe (listing steel, aluminum, uranium, and titanium sponge

investigations); Ex. 8 to Liberman Decl. (automobile investigation); Commerce’s

titanium-sponge investigation is still ongoing and, to CoA Institute’s knowledge, the

agency not yet produced a report.
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      2.     When Commerce completed its reports on steel and aluminum in 2018,

it transmitted those reports to the President and, within one month, published

executive summaries in the Federal Register and full reports on its website, subject

to redactions for classified and proprietary information. See Dep’t of Commerce, The

Effect of Imports of Aluminum on the National Security (Jan. 2018), available at

http://bit.ly/2N35R9q; Dep’t of Commerce, The Effect of Imports of Steel on the

National Security (Jan. 2018), available at http://bit.ly/2L7gBRJ

      3.     On February 17, 2019, the Secretary of Commerce transmitted a report

to the President detailing the findings from an investigation—conducted pursuant to

the Secretary’s authority under Section 232 of the Trade Expansion Act of 1962—into

whether the importation of passenger vehicles, light trucks, and certain automobile

parts impacted the national security of the United States (“232 Auto Tariffs Report”).

See Ex. 8 to Liberman Decl.

      4.     On May 17, 2019, the White House posted an extensive summary of the

232 Auto Tariffs Report on its website. See Ex. 8 to Liberman Decl.

II.   The Two FOIA Requests at Issue Here

      5.     By letter, dated February 18, 2019, CoA Institute sent a Freedom of

Information Act (“FOIA”) request to the Department of Commerce (“Commerce”)

Secretary’s office seeking access to “a copy of the Commerce Secretary’s final report

to the President regarding Section 232 National Security Investigation of Imports of

Automobiles, Including Cars, SUVs, Vans and Light Trucks, and Automotive Parts.”

Compl. Ex. 1; Answer ¶ 6 (admitted).



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      6.     On June 13, 2019, Commerce acknowledged receipt of the FOIA request

referenced in Paragraph 5 and appeared to assign it tracking number DOC-IOS-2019-

827. See Ex. 3 to Liberman Decl.

      7.     By letter, dated February 18, 2019 CoA Institute sent a separate FOIA

request to Commerce’s Bureau of Industry and Security (“BIS”) similarly seeking

access to “a copy of the Commerce Secretary’s final report to the President regarding

Section 232 National Security Investigation of Imports of Automobiles, Including

Cars, SUVs, Vans and Light Trucks, and Automotive Parts.” Compl. Ex. 2; Answer

¶ 9 (admitted).

      8.     By email, dated February 19, 2019, BIS acknowledged receipt of the

request and assigned it tracking number DOC-BIS-2019-742. Compl. Ex. 3; Answer

¶ 9 (admitted).

      9.     By letter, dated June 13, 2019, Commerce sent a letter to CoA Institute

stating that the agency is “reviewing, in conjunction with the Executive Office of the

President, whether the Secretary’s report constitutes a presidential record within the

meaning of the Presidential Records Act . . . in which case it would not be subject to

disclosure under FOIA.” See Ex. 5 to Liberman Decl.

      10.    Commerce further stated that even if the report is subject to the FOIA,

the agency would nonetheless attempt to withhold it “from disclosure under FOIA

pursuant to the presidential communications privilege and/or the deliberative

process privilege, until all actions deemed necessary to adjust the imports of




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automobiles and automobile parts so that such imports will not threaten to impair

the national security have been completed.” Id.

III.   Commerce’s Treatment of CoA Institute’s Request for the Section 232
       Uranium Report.

       11.   On April 14, 2019, the Secretary of Commerce “transmitted to [the

President] a report on his investigation into the effect of imports of uranium . . . on

the national security of the United States under section 232 of the Act.” The White

House, Presidential Memoranda: Memorandum on the Effect of Uranium Imports on

the National Security and Establishment of the United States Nuclear Fuel Working

Group (July 12, 2019), available at http://bit.ly/326VOmz.

       12.   On April 15, 2019, CoA Institute sent a FOIA request to Commerce

seeking access to the uranium report. Decl. of R. James Valvo, III ¶ 3.

       13.   On May 16, 2019, Commerce issued a final determination letter

granting CoA Institute’s request and stating that it “intend[s] to provide all non-

exempt documents responsive to your request.” Valvo Decl. Ex. 1.

       14.   Between May 16, 2019 and August 16, 2019, CoA Institute and

Commerce engaged in an email exchange discussing CoA Institute’s April 15 FOIA

request for the uranium report. Valvo Decl. Ex. 2.

       15.   Commerce has not produced the uranium report to CoA Institute. Valvo

Decl. ¶ 6.




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Date: September 3, 2019               Respectfully submitted,

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